              Case 22-10797-CTG     Doc 1231     Filed 02/02/24   Page 1 of 52




                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE


 In re:                                        Chapter 11

 PACK LIQUIDATING, LLC, et al.,                Case No. 22-10797 (CTG)

          Debtors.                             (Jointly Administered)

                                               Related Docket No. 1027


                              MEMORANDUM OPINION

          The debtors operated an e-commerce business, as third-party sellers of health,

beauty, and other consumer products on online marketplaces.1              They filed for

bankruptcy after raising several rounds of debt and equity financing, followed by the

collapse of a potential merger with a special purpose acquisition company (“SPAC”)

under which the debtors would have become a public company that allegedly would

have been valued at $1.5 billion.2 As the first-day declaration describes, after the

SPAC merger failed, the debtors shifted their efforts to pursuing a going-concern sale.

Those efforts, however, were unsuccessful, leaving the debtors to wind down their

affairs through an orderly liquidation in bankruptcy.3

          The Official Committee of Unsecured Creditors appointed in this bankruptcy

case alleges that the business failure is not the result of a challenged SPAC market




1 D.I. 13 at 3.
             Packable Holdings, LLC is referred to as “Packable.” Packable; Greenpharm
Ventures LLC; Packable Media, LLC; Pharmapacks, LLC; Packable Ventures, LLC; and
Access Brands, LLC are collectively referred to as “the debtors.”
2 See generally D.I. 13.

3 Id.
            Case 22-10797-CTG        Doc 1231      Filed 02/02/24    Page 2 of 52




and generally unfavorable business conditions, but instead was caused by

mismanagement and self-dealing by the company’s insiders.4 The Committee has

filed an adversary proceeding asserting those claims, as well as claims for equitable

subordination, the avoidance and recovery of alleged fraudulent conveyances, and the

disallowance of claims.5

       The defendants in the adversary proceeding do not challenge the Committee’s

authority to pursue the claims other than those for breach of fiduciary duty. Certain

of the defendants in the adversary proceeding have, however, objected to the

Committee’s motion for standing to pursue claims for breach of fiduciary duty.6 They

argue that because the debtors are Delaware limited liability companies, and the

Delaware Limited Liability Company Act provides that only the members of a

Delaware limited liability company or the company’s assignees may be given

derivative standing to act on behalf of the company, the Committee cannot be given

derivative standing to pursue the potential estate cause of action in bankruptcy.7

       The defendants’ argument relies primarily on three published opinions, issued

by judges of this Court, that have either held or suggested that the Delaware Limited

Liability Company Act and the Delaware Supreme Court opinion in CML V, LLC v.



4 The Official Committee of Unsecured Creditors is referred to as the “Committee.”

5 See Official Committee of Unsecured Creditors of Pack Liquidating, LLC v. Vagenas, et al.,

Bankr. D. Del. Adv. Proc. No. 23-50590-CTG, D.I. 1 (Sept. 28, 2023). Pleadings filed in this
adversary proceeding are cited as “Adversary D.I. __.”
6 The defendants who object to the motion are Adam Berkowitz, Bradley Tramunti, James

Mastronardi, Andrew Vagenas, and the entities affiliated with those defendants. See D.I.
1050 n.62. These are referred to, collectively, as the “objecting defendants.”
7 The Delaware LLC Act is codified at 6 Del. C. § 18-101, et. seq.



                                               2
             Case 22-10797-CTG      Doc 1231     Filed 02/02/24    Page 3 of 52




Bax that construes the Act, operate to preclude a bankruptcy court from granting an

official committee standing to pursue an estate cause of action in bankruptcy.8

         No opinion of a trial court judge is formally binding on another trial court

judge.    There are, however, important reasons, stemming both from rule-of-law

principles as well as (for courts with business dockets) ordinary commercial sense, for

judges sitting on multi-judge courts to strive for as much consistency and harmony in

their rulings as is practicable. The Court is therefore loath to break with the only

three written opinions by judges of this Court to have addressed the topic.

         For the reasons explained below, however, this Court does not believe that

those opinions can be squared with the Third Circuit’s en banc opinion in In re

Cybergenics, which treats the authority to grant a committee derivative standing to

pursue an estate claim as one that stems from the Bankruptcy Code rather than state

law.9 Under Cybergenics, the authority to grant committee standing is one of the

many tools that the Bankruptcy Code grants to bankruptcy courts – like the power to

appoint a chapter 11 trustee, to appoint an examiner, or to convert the case to one

under chapter 7 – to ensure that a debtor-in-possession is performing its role in the

bests interests of the estate. While an order granting a committee standing (unlike

the use of the other tools) can fairly be described as authorizing a “derivative” lawsuit,




8 See CML V, LLC v. Bax, 28 A.3d 1037 (Del. 2011).     The three published opinions of this
Court are In re HH Liquidation, LLC, 590 B.R. 211 (Bankr. D. Del. 2018); In re PennySaver
USA Publishing, LLC, 587 B.R. 445 (Bankr. D. Del. 2018); and In re Citadel Watford City
Disposal Partners, L.P., 603 B.R. 897 (Bankr. D. Del. 2019).
9 See Official Comm. of Unsecured Creditors of Cybergenics Corp. ex rel. Cybergenics Corp. v.

Chinery, 330 F.3d 548 (3d Cir. 2003).

                                             3
            Case 22-10797-CTG     Doc 1231     Filed 02/02/24   Page 4 of 52




it is a federal rather than state-law derivative action, and thus not the subject of the

Delaware Limited Liability Company Act.

      In light of the Cybergenics analysis (which is controlling in this Court), it

necessarily follows that a decision authorizing a committee to assert an estate cause

of action (which will be described herein as a “Cybergenics action”) does not conflict

with Bax.    Cybergenics actions and state-law derivative actions are simply two

different kinds of creatures. Alternatively, however, even if one were to view the

principles of Cybergenics and Bax as being in conflict, ordinary principles of federal

supremacy would require the authority that the Third Circuit found implicit in the

Bankruptcy Code to preempt any contrary state law.

      None of the prior opinions on this issue by judges of this Court addresses the

import of the Third Circuit’s decision in Cybergenics.          The Court accordingly

concludes that its overriding obligation faithfully to apply binding Third Circuit

precedent must prevail over the prudential concern for maintaining uniformity

among the judges of this Court. The Court therefore holds that the Delaware Limited

Liability Company Act does not preclude it from granting the Committee standing to

pursue an estate cause of action if the established standards for granting that relief

are otherwise met.

      On that question, the Court concludes that the Committee’s claim against the

objecting defendants is sufficiently colorable to be permitted to proceed. In fairness,

the objecting defendants assert serious arguments that the claims may be barred by

virtue of the company’s formation documents that exculpate them from any claim for



                                           4
             Case 22-10797-CTG    Doc 1231     Filed 02/02/24   Page 5 of 52




breach of fiduciary duty. The Committee, however, has a fair response that the

exculpation provisions are limited to the defendants’ capacities as managers, and do

not extend to their separate roles as officers. While those issues are touched on in

the parties’ briefing, the Court does not believe it appropriate to issue a definitive

ruling on this question based on the limited briefing now before it. Specifically, the

question of the “capacity” in which the defendants are sued was raised only in a post-

hearing brief filed by the Committee, to which the objecting defendants have not had

the opportunity to respond. Accordingly, although in many contexts courts have

(sensibly) found that the question whether a claim is “colorable” to depend on a

showing that the claim will survive a motion to dismiss, in the unusual circumstances

presented here, the Court concludes only that, based on the current state of the record

and briefing before it, the claims are sufficiently colorable for the Court to grant the

Committee standing to assert the estate’s claim. That ruling, however, is without

prejudice to any of the rights of the parties on the question whether the complaint, in

its current form, states a claim that will survive a motion to dismiss.

                      Factual and Procedural Background

        In 2010, Andrew Vagenas, Bradley Tramunti, and James Mastronardi formed

a company that would eventually become Packable, which is the lead debtor and

ultimate parent company of the other debtors in these bankruptcy cases. Packable,

a Delaware limited liability company, operated as a third-party seller of health and

beauty products on online marketplaces in North America.10 Since the company’s


10 D.I. 13 at 3.



                                           5
               Case 22-10797-CTG   Doc 1231    Filed 02/02/24   Page 6 of 52




inception, the debtors relied on “proceeds of debt and equity capital raises to fund

their operations and grow their business.”11

        The heart of the Committee’s complaint is the allegation that the company’s

insiders have, over many years, put their own interests ahead of the those of the

company itself. The insiders in question include the company’s original founders, as

well as strategic partners that invested in the company and obtained the right to

appoint members to the company’s board.

        The current motion, however, involves only the claims asserted against the

original founders and entities they control. The Committee alleges, among other

things, that these defendants used the proceeds of a substantial capital infusion to

redeem their own shares, rather than invest those proceeds in the company’s

infrastructure. It is alleged that this decision drained the company of the capital that

was necessary to the ultimate success of the business.

        The Committee’s standing to assert the various bankruptcy claims set out in

the complaint was the subject of a prior stipulation approved by the Court.12 And

while the Committee suggests that this stipulation (as well as a prior one) implicitly

authorized it also to assert the fiduciary duty claims on behalf of the estate, it now

(as an abundance of caution, it says) moves the Court for standing to assert the

fiduciary duty claims on behalf of the estate.13 The Court, however, does not believe




11 Id. at 4.

12 D.I. 769.

13 D.I. 1027 at 2.



                                           6
                Case 22-10797-CTG     Doc 1231     Filed 02/02/24    Page 7 of 52




that the existing stipulations cover the claims for breach of fiduciary duty. One

stipulation applies to the entities that were Term Lenders, while the defendants are

different entities.     Another stipulation applies to avoidance actions, which are

different from the claims for breach of fiduciary duty at issue here. The Court will

therefore proceed to address the merits of the motion.

       Approximately two weeks before argument on the instant motion, this Court

issued a letter ruling in an unrelated case that touched on the questions presented in

this motion.14      To ensure that the parties were aware of that ruling, the Court

docketed a “notice” that called the parties’ attention to it and suggested that the

parties be prepared to address the issues at the October 19, 2023 hearing on the

motion.15 The October 19, 2023 argument was extensive and helpful to this Court.

The parties also filed post-argument briefs to address issues that arose for the first

time at argument.16

                                        Jurisdiction

       This is a motion seeking authority to grant the Committee standing to pursue

an estate cause of action.        As will be explained below, the Third Circuit, in

Cybergenics, held that the Bankruptcy Code implicitly authorizes a bankruptcy court

to grant a committee derivative standing.             The dispute now before the Court

accordingly “arises under” the Bankruptcy Code, although the provision under which




14 Miller v. Mott, et al., Bankr. D. Del. No. 23-50004-CTG, D.I. 101 (Oct. 4, 2023).

15 D.I. 1065.

16 D.I. 1099, 1117.



                                               7
            Case 22-10797-CTG       Doc 1231     Filed 02/02/24    Page 8 of 52




it arises is implicit rather than express. As such, the district court has subject matter

jurisdiction over this proceeding under 28 U.S.C. § 1334(b). This dispute has been

referred to this Court under 28 U.S.C. § 157(a) and the February 29, 2012 Standing

Order of Reference of the United States District Court for the District of Delaware.

This is a core matter pursuant to 28 U.S.C. § 157(b)(2).

                                         Analysis

I.     A bankruptcy court’s order authorizing a committee to prosecute an
       action on behalf of a bankruptcy estate is different from a state-law
       derivative action.

       A.     Traditional derivative actions are creatures of state law.

       State corporate law provides mechanisms, both substantive and procedural,

designed to ensure that those who manage or control the corporate entity do so in a

manner that is consistent with the best interests of the entity’s stakeholders.

Substantively, state law impresses fiduciary duties on corporate officers and

directors, requiring them to comport with the duties of care and loyalty that they owe

to the corporation and its shareholders.17

       State law also recognizes, however, that when a corporation holds a claim for

breach of duty (or otherwise) against those who manage or control the corporation,

the corporation’s managers may resist calls to direct the corporation to sue

themselves. The derivative action is, at bottom, a state law procedural tool designed

to address this problem.      Today, in the 36 states that have adopted the Model

Business Corporation Act, the authority for the derivative action is provided by



17 See generally Revlon v. MacAndrews & Forbes Holdings, Inc., 506 A.2d 173, 179 (Del. 1986).



                                             8
             Case 22-10797-CTG       Doc 1231      Filed 02/02/24   Page 9 of 52




statute.18 Under Delaware law, however, the basic principles governing derivative

actions remain those fashioned at common law.19 The Delaware Supreme Court

observed in Schoon v. Smith that the “judicially-created doctrine … known as the

stockholder derivative action” traces its roots to equitable principles dating to the 14th

Century.20 These principles are intended to provide a remedy to “the individual

stockholder … in need of a means of invoking judicial power to curb managerial

abuse.”21

         While the Delaware state-law derivative action is thus a judicially created one,

it is subject to restrictions and limitations that have been statutorily adopted.22 For

example, the Schoon decision explains that in adopting Delaware General

Corporation Law § 327, the Delaware legislature limited the right to bring a

derivative action to a shareholder who held shares at the time of the challenged

transaction.23

         Generally speaking, a state-law derivative action is a lawsuit brought by a

shareholder who seeks standing to pursue a cause of action, on behalf of the


18 For a list of states that have adopted the Model Business Corporation Act and the citations

to       the     codification      under      applicable        state     law,       see
https://www.americanbar.org/content/dam/aba/administrative/business_law/mbca-resource-
center-page-documents/corporate-laws-mbca-resource-centerlist-of-mbca-enactments-by-
states.pdf.
19 See Schoon v. Smith, 953 A.2d 196, 201 (Del. 2008) (noting that court of equity recognized

derivative standing to provide shareholders with “a means of invoking judicial power to curb
managerial abuse”) (internal quotation omitted).
20 Id.

21 Id. (internal citation and quotation omitted)

22 Id. at 204.

23 Id.



                                               9
           Case 22-10797-CTG        Doc 1231       Filed 02/02/24   Page 10 of 52




corporation, that the corporation itself could have enforced in court.24 Unless it is

excused as futile, a shareholder is typically required to make a demand on the

company’s board to assert the action before it is permitted to proceed on a derivative

basis.25 While derivative actions are principally creatures of state law, it bears note

that the Federal Rule of Civil Procedure 23.1, which applies to adversary proceedings

in bankruptcy court by virtue of Bankruptcy Rule 7023.1, sets forth the procedures

that govern derivative actions in federal court.26 The Third Circuit explained in

Fagin, however, that the rule is controlling only as to matters that are considered

procedural.27 On matters of substance, and there can be little doubt that the relevant

provisions of the Delaware Limited Liability Company Act would be deemed

substantive for this purpose, state law provides the rule of decision.28

       While derivative actions are typically asserted by shareholders, Delaware law

also recognizes that in the event of insolvency, creditors replace shareholders as the

residual beneficiaries of an increase in corporate value. As such, the Delaware




24 Daily Income Fund, Inc. v. Fox, 464 U.S. 523 (1984).     The cause of action belongs to the
corporation, which is the real party in interest. Ross v. Bernhard, 396 U.S. 531 (1970); Koster
v. (American) Lumbermens Mut. Cas. Co., 330 U.S. 518 (1947).
25See generally United Food and Comm’l Workers Union and Participating Food Indus.
Employers Tri-State Pension Fund v. Zuckerberg, 262 A.3d 1034 (Del. 2021).
26 See Fagin v. Gilmartin, 432 F.3d 276, 285 (3d Cir. 2005); Gallup v. Caldwell, 120 F.2d 90,

93 (3d Cir. 1941).
27 Fagin, 432 F.3d at 285 n.2.

28 Kamen v. Kemper Financial Services, Inc., 500 U.S. 90, 96-97 (1991).



                                              10
            Case 22-10797-CTG      Doc 1231      Filed 02/02/24   Page 11 of 52




Supreme Court has authorized creditors to sue derivatively to enforce the obligations

that an insolvent company’s directors owe to the corporation.29

       B.     The Delaware Limited Liability Company Act permits the
              exculpation of fiduciary duties and limits the availability of
              derivative lawsuits to enforce those duties.

       For Delaware limited liability companies, the Delaware Limited Liability

Company Act makes both the substance of fiduciary duties and the procedures for

enforcing them different than they are for Delaware corporations. Substantively,

Delaware law treats limited liability companies as “creatures of contract, ‘designed

to afford the maximum amount of freedom of contract, private ordering and flexibility

to the parties involved.’”30 A limited liability company can be managed either by a

“member” (which is the title for an owner of a limited liability company) or by a non-

member manager. Members can therefore either serve as managers or can be passive

investors.31 As a general proposition, the manager of a limited liability company

(whether or not the manager is a member), much like a corporate officer, owes

fiduciary duties to the entity and its members.32 In addition, it bears note that

various of Packable’s managers also served as officers of the limited liability

company.


29 North American Catholic Educational Programming Foundation, Inc. v. Gheewalla, 930

A.2d 92 (Del. 2007).
30 TravelCenters of Am., LLC v. Brog, No. 3516-CC, 2008 WL 1746987, at *1 (Del. Ch. Apr. 3,

2008) (quoting In re Grupo Dos Chiles, LLC, No. 1447-N, 2006 WL 668443, at *2 (Del. Ch.
Mar. 10, 2006)).
31 Feeley v. NHAOCG, LLC, 62 A.3d 649, 662 (Del. Ch. 2012).

32 See In re Bayou Steel BD Holdings, LLC, 651 B.R. 179, 190 (Bankr. D. Del. 2023) (stating

that “Delaware law presumes that managers of limited liability companies owe fiduciary
duties unless explicitly disclaimed”) (citations omitted).

                                            11
             Case 22-10797-CTG      Doc 1231      Filed 02/02/24   Page 12 of 52




         The Delaware Limited Liability Company Act, however, allows for the

exculpation of these fiduciary duties. The Act permits the company’s operating

agreement to expand, restrict, or eliminate a manager’s fiduciary duties.33 Further,

the Act also permits the agreement to “leave the default duties in place, but limit or

eliminate monetary liability for breach of duty.”34 The relevant provision states that:

         A limited liability company agreement may provide for the limitation or
         elimination of any and all liabilities for breach of contract and breach of
         duties (including fiduciary duties) of a member, manager or other person
         to a limited liability company or to another member or manager or to
         another person that is a party to or is otherwise bound by a limited
         liability company agreement; provided, that a limited liability company
         agreement may not limit or eliminate liability for any act or omission
         that constitutes a bad faith violation of the implied contractual covenant
         of good faith and fair dealing.35

         Even where liability is limited or eliminated for the underlying fiduciary duty,

the fiduciary obligation itself remains.36 Additionally, an operating agreement may

exculpate personal liability as to monetary damages, meaning the exculpation only

addresses one of the available remedies for the breach of fiduciary duties. Other

remedies, such as a declaratory judgment, would remain.37

         Procedurally, like a shareholder of a corporation, a member of a Delaware

limited liability company may sue derivatively for claims of breach of fiduciary duties

that run to the company.         The Delaware Limited Liability Company Act does,


33 6 Del. C. § 18-1101(c).

34 Feeley, 62 A.3d at 664.

35 6 Del. C. § 18-1101(e).

36 Feeley, 62 A.3d at 664; Metro Storage Int’l LLC v. Harron, 275 A.3d 810, 847 (Del. Ch.

2022).
37 Id.



                                             12
            Case 22-10797-CTG      Doc 1231      Filed 02/02/24   Page 13 of 52




however, impose procedural limitations on such a derivative lawsuit. Section 18-1001

authorizes state-law derivative actions for Delaware limited liability companies:

       A member or an assignee of a limited liability company interest may
       bring an action in the Court of Chancery in the right of a limited liability
       company to recover a judgment in its favor if managers or members with
       authority to do so have refused to bring the action or if an effort to cause
       those managers or members to bring the action is not likely to succeed.38

       Section 18-1002 describes who can be a plaintiff in a state-law derivative

action:

       In a derivative action, the plaintiff must be a member or an assignee of
       a limited liability company interest at the time of bringing the action
       and:

               (1) At the time of the transaction of which the plaintiff complains;
               or

               (2) The plaintiff’s status as a member or an assignee of a limited
               liability company interest had devolved upon the plaintiff by
               operation of law or pursuant to the terms of a limited liability
               company agreement from a person who was a member or an
               assignee of a limited liability company interest at the time of the
               transaction.39

       These requirements thus function to bar creditors from bringing the kind of

derivative standing that creditors of a corporation may bring under Gheewala. In

CML V, LLC v. Bax, the Delaware Supreme Court held that the Delaware Limited

Liability Company Act means what it says.40 There, CML, a creditor of the limited

liability company, sought to assert derivative claims for breach of fiduciary duties

against the company’s managers.


38 6 Del. C. § 18-1001.

39 Id. § 18-1002.

40 Bax, 28 A.3d 1037.



                                            13
            Case 22-10797-CTG      Doc 1231    Filed 02/02/24   Page 14 of 52




       The Delaware Supreme Court held that such a lawsuit was prohibited by the

statute.    CML argued that, like creditors of an insolvent corporation under

Gheewalla, creditors of an insolvent limited liability company should be able to assert

derivative standing as the residual beneficiaries of any such claim. The Delaware

Supreme Court, however, held that the assertion of a derivative action was precluded

by the Limited Liability Company Act. The court explained that the sole recourse of

a creditor of a limited liability company is to negotiate a contractual protection that

would be enforceable directly, without resort to derivative standing.41

       C.         The type of action contemplated by Cybergenics derives from the
                  Bankruptcy Code rather than state law and thus is not affected
                  by the Limited Liability Company Act.

       The central question before this Court is whether a decision of a bankruptcy

court to authorize a committee to assert a claim on behalf of a bankruptcy estate is a

derivative action that is subject to the Delaware Limited Liability Company Act. Any

fair reading of the Third Circuit’s landmark decision in Cybergenics reveals that the

answer to that question is no. That opinion demonstrates that the Cybergenics court

viewed an order authorizing committee standing as a tool, provided by federal

bankruptcy law, that does not depend at all upon state law. To be sure, state-law

derivative actions and Cybergenics actions share a common ancestor. Both grow out

of the same ancient equitable practice.        It is thus unsurprising that state-law

derivative actions and Cybergenics actions have many salient common features. The

critical point, however, is that in holding that the bankruptcy court could authorize



41 Id. at 1046.



                                          14
             Case 22-10797-CTG         Doc 1231    Filed 02/02/24   Page 15 of 52




the committee in Cybergenics to pursue certain claims, the Third Circuit neither cited

nor referred to any state law authorizing derivative standing. The authority to

authorize such derivative standing was found to be implicit in the Bankruptcy Code,

which effectively codified the same equitable principles from which state-law

derivative actions emerged.

       The unmistakable implication of Cybergenics is that the action it contemplated

is one whose fundamental authority is the Bankruptcy Code.                The painstaking

Cybergenics opinion, written by then-Chief Judge Becker, did not rely in any way on

the existence of a state-law authority for a shareholder or creditor to assert a

derivative action. A federal bankruptcy court’s ability to authorize a Cybergenics

action therefore is not affected by the Delaware Limited Liability Company Act. That

statute limits who can be a plaintiff in a state-law derivative action. By its terms, it

is directed to suits filed in the Court of Chancery. It does not purport to address who

may be a plaintiff in a proceeding authorized by the federal Bankruptcy Code.

       The Cybergenics Court gave three reasons for its conclusion:

       (1)     The more modest power to grant committee standing can be implied

               from the more drastic tools that the Bankruptcy Code grants to a

               bankruptcy court to ensure that the debtor-in-possession, as trustee, is

               fulfilling its fiduciary responsibilities;42




42 Cybergenics, 330 F.3d at 576-579.



                                              15
             Case 22-10797-CTG     Doc 1231       Filed 02/02/24   Page 16 of 52




       (2)     The power is implied from three specific provisions of the Bankruptcy

               Code;43 and

       (3)     The power is a traditional equitable authority that was regularly

               exercised under pre-Code practice and implicitly carried forward as a

               retained equitable power.44

       For present purposes, however, the central point is that each of these reasons

points unmistakably to the Bankruptcy Code rather than state law as the source of

authority for granting committee standing. As such, it necessarily follows that the

authority is not affected by acts of a state legislature to limit the availability of state-

law derivative actions.

               1.    The power to grant derivative standing is a “lesser power”
                     that can be implied from the greater powers to convert a
                     case to chapter 7, to appoint a chapter 11 trustee, or to
                     appoint an examiner.

       A central innovation of Chapter 11 of the Bankruptcy Code, drawing on its

predecessor in the prior Chapter XI, is the notion that rather than immediately

appointing an independent trustee to oversee the estate of an insolvent debtor, the

presumption should be that existing management, with its “familiarity with the

business it had already been managing,” should remain in possession of the debtor

and its assets.45 Section 1107 of the Bankruptcy Code, which grants the debtor in

possession the powers and duties of a trustee, means that the debtor in possession “is



43 Id. at 560-567.

44 Id. at 567-572.

45 See generally In re Marvel Entertainment Group, 140 F.3d 463, 471 (3d Cir. 1998).



                                             16
            Case 22-10797-CTG        Doc 1231    Filed 02/02/24   Page 17 of 52




a fiduciary of the creditors” and is presumptively believed to be better suited to

discharge those duties and maximize creditor recoveries than would a stranger to the

business appointed as trustee.46

         At the same time, however, the Code includes an array of statutory protections

designed to ensure that the debtor in possession lives up to its statutory obligation to

serve as a faithful trustee. Section 1102 calls for the appointment of an official

committee of creditors, charged with ensuring that the case is administered in a

manner that protects creditor interests.47 To the extent creditors conclude that the

debtor in possession is failing to carry out its obligations properly, § 1104 authorizes

parties in interest to seek the appointment of either an independent trustee or an

examiner. And under § 1112(b), parties may seek to convert the case to one under

chapter 7, in which case an independent chapter 7 trustee would be appointed to

liquidate the business’ assets.

         The Third Circuit in Cybergenics confronted the argument that an order

granting a committee standing to pursue a cause of action on behalf of the estate

when the claim is a colorable one and the debtor in possession improperly declines to

pursue it should be viewed as one of the tools in the statutory toolkit provided by the

Bankruptcy Code to ensure that the estate is properly managed for the benefit of

creditors and other stakeholders. Indeed, the argument in Cybergenics was that the

greater powers expressly granted by statute implied the existence of the lesser power



46 Id.

47 See 11 U.S.C. §§ 1102 and 1103.



                                            17
            Case 22-10797-CTG       Doc 1231      Filed 02/02/24   Page 18 of 52




to grant committee standing.48 Or in the perhaps more vivid language used by one of

the amici in Cybergenics, requiring a bankruptcy court to appoint a chapter 11 trustee

rather than grant a committee derivative standing “would amount to replacing the

scalpel of derivative suit with a chainsaw.”49

         The Third Circuit agreed. “[B]ecause much of Chapter 11 is premised on

allowing current management to remain in control of the debtor, it is unlikely that

Congress intended to force a court to displace that management in the relatively

commonplace event that a debtor makes a questionable decision not to prosecute a

fraudulent avoidance claim.”50

         The critical point in this context is that this authority to grant derivative

standing arises out of the need to ensure that the chapter 11 process operates as

intended.     The Bankruptcy Code strikes a careful balance between the value-

maximizing potential of permitting the debtor’s existing management to remain in

possession and the need to ensure that the “trustee” in bankruptcy faithfully fulfills

its fiduciary duties to creditors. The Cybergenics court found that the bankruptcy

court’s authority to authorize a committee to pursue an estate cause of action to be

an implicit part of this overall congressional design. This authority must therefore

flow from the Bankruptcy Code rather than state law.




48 See generally FERC v. Mississippi, 456 U.S. 742 (1982) (Congress’ greater authority to

prohibit all state regulation of private interstate power transmission included the lesser
authority to require states to consider federal standards).
49 Cybergenics, 330 F.3d at 577 (internal quotation omitted).

50 Id.



                                             18
            Case 22-10797-CTG       Doc 1231    Filed 02/02/24   Page 19 of 52




                 2.   The power to grant derivative standing is implied
                      from §§ 1109(b), 1103(c)(5), and 503(b)(3)(B).

       In addition to the “big picture” analysis flowing from the purpose of chapter

11, the Third Circuit also pointed to specific Bankruptcy Code provisions from which

it held that the power to grant derivative standing was implied. Specifically, the

court found that §§ 1109(b), 1103(c)(5), and 503(b)(3)(B) “shed light on the role

Congress intended creditors’ committees to play in the reorganization process.”51

       The court surveyed each of these three Code provisions.          Section 1109(b)

expressly authorizes a creditors’ committee to appear and be heard on any issue in a

chapter 11 case, which the court found to “support the authority of bankruptcy courts

to permit creditors’ committees to bring claims on behalf of the debtor in possession

for the benefit of the estate.”52

       Section 1103(c)(5) permits an official committee to “perform such other services

as are in the interest of those represented.”53 The court concluded that this section

“suggests that Congress intended for creditors’ committees to perform services on

behalf of the estate, and that Congress consciously built a measure of flexibility into

the scope of those services.”54

       Section 503(b)(3)(B) contemplates the allowance of an administrative claim for

a creditor “that recovers, after the court’s approval, for the benefit of the estate any




51 Id. at 560.

52 Id. at 560-561 (emphasis omitted).

53 11 U.S.C. § 1103(c)(5).

54 Cybergenics, 330 F.3d at 563.



                                           19
            Case 22-10797-CTG      Doc 1231    Filed 02/02/24   Page 20 of 52




property transferred or concealed by the debtor.”55 In the absence of an authority to

grant derivative standing to a creditor to assert a claim on the estate’s behalf, such a

provision would be rendered “entirely superfluous.”56

       Summarizing the import of this analysis, the Third Circuit concluded that “the

most natural reading of the Code is that Congress recognized and approved of

derivative standing for creditors’ committees. Section 1109(b) and 1103(c)(5), taken

together, evince a Congressional intent for committees to play a robust and flexible

role in representing the bankruptcy estate.”57

                 3.   The Bankruptcy Code preserves the court’s residual
                      equitable authority, commonly exercised in pre-Code
                      practice, to grant derivative standing.

       The Third Circuit recognized a “compelling” pre-Code practice in which

bankruptcy courts regularly authorized creditors to bring suit on behalf of a

bankruptcy estate when a trustee refused to do so. After describing the case law on

the question, the court of appeals concluded that it was “satisfied that the

overwhelming balance of pre-Code opinion supports courts’ power to confer derivative

standing upon creditors.”58

       The difficulty the case presented, however, was that the action contemplated

was a fraudulent conveyance action under § 544 of the Bankruptcy Code. And § 544




55 11 U.S.C. § 503(b)(3)(B).

56 Cybergenics, 330 F.3d at 563.

57 Id. at 566.

58 Id. at 571.



                                          20
             Case 22-10797-CTG       Doc 1231      Filed 02/02/24   Page 21 of 52




gives the power to assert such an action to the trustee.59 Moreover, the Supreme Court

had held in Hartford Underwriters that § 506(c), which authorizes the trustee to

surcharge the value of a secured creditor’s collateral for the “reasonable, necessary

costs and expenses of preserving” the collateral to the “extent of any benefit” to the

secured creditor, allowed only the trustee – not any other party in interest – to

surcharge the collateral for such costs and expenses.60 The court of appeals thus

confronted the argument whether the language of § 544 similarly meant,

notwithstanding the pre-Code practice, that “the trustee and only the trustee” – not

a creditors’ committee – may bring a fraudulent conveyance action under that

provision.

       The court held that it did not. The Third Circuit observed that the Supreme

Court expressly stated in Hartford Underwriters that it was not addressing a court’s

authority to grant derivative standing but was only rejecting the individual creditor’s

claimed “independent right to use § 506(c).”61 In addition to relying on the specific

statutory provisions described above, the Third Circuit also focused on the equitable

roots of bankruptcy law.62 While the adoption of the Bankruptcy Code in 1978 (with

its enactment of a detailed statutory scheme governing bankruptcy proceedings)

made meaningful changes compared to pre-Code practice, the Third Circuit observed



59 See 11 U.S.C. § 544(a) (“[t]he trustee … may avoid any transfer of property of the debtor …

that is voidable by … [a hypothetical lien creditor]”).
60Hartford Underwriters Ins. Co. v. Union Planters Bank, 530 U.S. 1 (2000). See also
11 U.S.C. § 506(c).
61 Cybergenics, 330 F.3d at 555 (citing Hartford Underwriters, 530 U.S. at 13 n.5).

62 Id. at 567-569.



                                              21
            Case 22-10797-CTG        Doc 1231      Filed 02/02/24   Page 22 of 52




that Congress intended to carry forward certain of the equitable principles on which

courts had relied under pre-Code practice.

       Among those principles that the Third Circuit found to survive the adoption of

the Bankruptcy Code was the traditional equitable authority – the same one

described by the Delaware Supreme Court in Schoon v. Smith – of courts to permit

“shareholders to pursue valuable actions when the nominal plaintiff (the corporation)

unreasonably refused to do so.”63 Accordingly, while § 544 does indeed give the power

to bring fraudulent conveyance actions to the trustee, the Code also implicitly

embraces the equitable authority of the bankruptcy court to grant a committee

derivative standing when the trustee declines to assert a valuable claim. “The end

result of this equitable remedy – the estate’s recovery of fraudulently transferred

property – is precisely what Congress envisioned” in adopting the Bankruptcy Code,

including the three specific statutory provisions described above.64

       D.        Caselaw from outside the Third Circuit states expressly what is
                 implicit from Cybergenics – that state law has no effect on a
                 bankruptcy court’s authority to grant committee standing.

       The Cybergenics court relied expressly on decisions from the Second and

Seventh Circuits that had concluded, after Hartford Underwriters, that bankruptcy

courts had the authority to grant derivative standing to creditors’ committees.65 Like

Cybergenics, these decisions from outside the Third Circuit make plain that they



63 Id. at 568.

64 Id. at 569.

65 Id. at 566-567 (citing In re Commodore Int’l Ltd., 262 F.3d 96 (2d Cir. 2001); In re Caldor

Corp, 303. F.3d 161 (2d Cir. 2002); and Fogel v. Zell, 221 F.3d 955 (7th Cir. 2000)).

                                              22
            Case 22-10797-CTG       Doc 1231       Filed 02/02/24    Page 23 of 52




viewed the authority to grant committee standing to be a federal law power that did

not turn on any provision of state law. And some of these decisions go further still,

explaining expressly that this authority is not affected in any way by whatever state

law may provide with respect to state-law derivative litigation.

       For example, the Second Circuit in In re Commodore International considered

whether a committee may sue officers and directors of the debtor corporation on

behalf of the debtor for claims of fraud, waste, and mismanagement.66 There, the

court explained that there were two circumstances in which it would be appropriate

to grant committee standing. Those circumstances were (1) if the committee had the

consent of the debtor-in-possession or trustee, and (2) if the court found that granting

the committee standing is in the best interest of the bankruptcy estate and the suit

was necessary and beneficial to the fair and efficient resolution of the bankruptcy

proceedings.67

       The Second Circuit had also addressed the issue of committee standing in In

re STN Enterprises.68 The committee there sought to assert claims against the

debtor’s president and two directors for misappropriation and waste of corporate

funds. The court found that, despite the lack of explicit authority allowing for the

committee to initiate such an adversary proceeding, there is an implied right for the




66 In re Commodore Int’l Ltd., 262 F.3d 96, 97-98 (2d. Cir. 2001).

67 Id. at 100.

68 In re STN Enterprises, 779 F.2d 901 (2d. Cir. 1985).



                                              23
            Case 22-10797-CTG        Doc 1231      Filed 02/02/24   Page 24 of 52




committee to pursue these claims in the name of the debtor-in-possession under

§§ 1109(b) and 1103(c)(5) of the Bankruptcy Code.69

       The Sixth Circuit likewise granted a committee derivative standing without

reliance on state law.70 In In re Gibson Group, the committee sought standing to file

an action to avoid fraudulent or preferential transfers where the debtor-in-possession

refused to bring the action. The court held that, similar to the holdings in other

jurisdictions, a creditor (or a committee) may obtain derivative standing if it satisfies

the following: (1) the creditor “alleged a colorable claim that would benefit the estate,

if successful, based on a cost-benefit analysis performed by the bankruptcy court;” (2)

the creditor made a demand on the debtor to file the action; (3) the demand had been

refused; and (4) the refusal was unjustified in light of the statutory obligations and

fiduciary duties of the debtor.71 The court held that neither §§ 547 nor 548 preclude

the “judicially-created doctrine of derivative standing,” since “such standing furthers

Congress’s purpose in balancing the interests between the debtor and its creditors in

a Chapter 11 reorganization.”72

       To the extent any of the courts of appeals that have addressed committee

standing even refer to state law, they have rejected arguments that a federal

bankruptcy court’s authority to grant committee standing should depend on what

state law provides. For example, in Louisiana World Exposition v. Federal Ins. Co.,


69 Id. at 904 (citations omitted).

70 In re Gibson Group, Inc., 66 F.3d 1436 (6th Cir. 1995).

71 Id. at 1438.

72 Id. at 1440.



                                              24
              Case 22-10797-CTG       Doc 1231         Filed 02/02/24   Page 25 of 52




the      committee    sought   standing     to     pursue     actions   for   gross   negligence,

mismanagement, and breach of fiduciary duty against the debtor corporation’s

officers and directors. 73 The debtor there was a non-profit corporation, and while

Louisiana state law imposed on the officers and directors a fiduciary duty running to

the corporation, it did not appear to provide a mechanism (absent the appointment of

a receiver) for creditors of an insolvent non-profit corporation to assert such a claim

through a derivative lawsuit.74          The defendants’ suggestion that granting the

committee standing might be inconsistent with Louisiana state law, however, did not

concern the Fifth Circuit at all. Allowing the committee to take the place of the

debtor-in-possession or trustee is “a procedural device, authorized by the Code, which

does not affect state created property interests.”75 Further, the court held that to the

extent Louisiana had any interest in ensuring that any such claim be brought by a

receiver (rather than a committee granted such authority by bankruptcy court order),

“that interest must yield to the procedural needs and dictates of federal bankruptcy

law.”76

          The Seventh Circuit’s decision in Fogel v. Zell is to the same effect.77 The court

held, in an opinion by then-Chief Judge Posner, that while the law of a company’s

state of incorporation determines who may bring a derivative suit, that is of “no



73 Louisiana World Exposition v. Federal Ins. Co., 858 F.2d 233, 251 (5th Cir. 1988).

74 Id.

75 Id. at 252.

76 Id.

77 Fogel v. Zell, 221 F.3d 955 (7th Cir. 2001).



                                                  25
            Case 22-10797-CTG       Doc 1231      Filed 02/02/24   Page 26 of 52




matter” in a chapter 11 case, because under federal bankruptcy law, the bankruptcy

court retains the authority, in appropriate circumstances, to permit a creditor to

“proceed in his place and in his name.”78

         Finally, Judge Wiles of the Southern District of New York Bankruptcy Court

reached this same conclusion in the context of a Delaware limited liability company.

Rejecting the argument that the Delaware Limited Liability Company Act precluded

him from authorizing a committee to pursue an estate cause of action, Judge Wiles

observed that the action contemplated was not one brought “under the authority of

Delaware law, or under any other state’s law.”79 Rather, the committee was seeking

an order “to authorize the committee to act as the estate representative to pursue

claims that belong to the estates and to do so as a matter of federal bankruptcy law,

not state law.”80

                                           * * *

         In sum, the bankruptcy court authority described by the Cybergenics court, to

grant a committee standing to pursue an estate cause of action when a debtor in

possession refuses to bring a potentially valuable claim, is a power that derives from

federal law. It does not rely or depend on the law of the state in which the debtor is

incorporated. As such, limitations on state-law derivative actions have no application

to a Cybergenics action.      For that reason, the restrictions on derivative actions


78 Id. While this passage of Fogel appears to contemplate an individual creditor, rather than
a creditor’s committee, being granted standing to pursue an estate cause of action, the import
is the same.
79 In re McClatchy Co., Bankr. S.D.N.Y. No. 20-10418, July 6, 2020 Hr’g Tr. at 30.

80 Id.



                                             26
          Case 22-10797-CTG       Doc 1231     Filed 02/02/24   Page 27 of 52




imposed by the Delaware Limited Liability Company Act and described by the

Delaware Supreme Court in its Bax decision have no bearing on a bankruptcy court’s

ability to authorize a committee to bring an estate cause of action.

II.   Alternatively, even if the Delaware Limited Liability Company Act
      purported to prevent a bankruptcy court from granting a committee
      standing to pursue an estate cause of action, it would be preempted
      by the Bankruptcy Code.

      This Court’s principal holding, described in Part I above, is that it has the

authority to authorize a Cybergenics action in a case involving a debtor that is a

Delaware limited liability company, notwithstanding the Delaware Limited Liability

Company Act and Bax, because Cybergenics and the Delaware Limited Liability

Company Act operate in separate spheres. The Delaware Limited Liability Company

Act governs state-law derivative actions involving Delaware limited liability

companies. By the Act’s express terms, it governs suits filed in the Court of Chancery.

By contrast, the authority to bring a Cybergenics action is a federal authority, outside

the scope of matters with which the Delaware Limited Liability Company Act is

concerned.

      In the alternative, however, if the Delaware Limited Liability Company Act

sought to restrict the authority of a bankruptcy court to authorize a Cybergenics

action, such an effort would be unsuccessful because it would conflict with the

Bankruptcy Code and thus be preempted. The Constitution’s Supremacy Clause

provides that federal laws “shall be the supreme law of the Land; and the Judges in

every State shall be bound thereby, any Thing in the Constitution or Laws of any




                                          27
            Case 22-10797-CTG        Doc 1231        Filed 02/02/24   Page 28 of 52




state to the Contrary notwithstanding.”81 Any state law that either interferes or

conflicts with federal laws is thus preempted.82

       Preemption can either be express or implied. Preemption is express “when

there is an explicit statutory command that state law be displaced.”83 In the absence

of an express statutory directive (which is absent here), state law is nevertheless

preempted when federal law is “sufficiently comprehensive to make reasonable the

inference that Congress ‘left no room’ for supplementary state regulation.”84 This

implied preemption comes in two variations: field preemption and conflict

preemption.85        The first involves situations in which federal law will so

comprehensively regulate a field that “the federal system will be assumed to preclude

enforcement of state laws on the same subject.”86 Conflict preemption applies when

a state law conflicts with a federal law such that “(1) it is impossible to comply with

both state law and federal law; or (2) the state law stands as an obstacle to the

accomplishment and execution of the full purposes and objectives of Congress.”87


81 U.S. Const. art. VI, cl. 2.

82 See Gibbons v. Ogden, 22 U.S. 1 (1824); Hillsborough County, Fla. v. Automated Medical

Laboratories, Inc., 471 U.S. 707, 712 (1985).
83 Green v. Fund Asset Management, L.P., 245 F.3d 214, 222 (3d Cir. 2001).    See also Jones v.
Rath Packing Co., 430 U.S. 519, 525 (1977).
84 Hillsborough County, 471 U.S. at 713 (quoting Rice v. Santa Fe Elevator Corp., 331 U.S.

218, 230 (1947)).
85 Lozano v. City of Hazleton, 724 F.3d 297, 302 (3d Cir. 2013) (citing Gade v. Nat’l Solid

Wastes Mgmt. Ass’n, 505 U.S. 88, 98 (1992)).
86 Rice, 331 U.S. at 230 (citation omitted).

87 Orson, Inc. v. Miramax Film Corp., 189 F.3d 377, 382 (3d Cir.1999).    In a recent opinion,
Judge Lopez of the Southern District of Texas held that a different provision of the Delaware
Limited Liability Company Act was preempted because of a direct conflict with the
Bankruptcy Code. Section 18-304 of the Delaware Limited Liability Company Act provides
                                                28
            Case 22-10797-CTG       Doc 1231      Filed 02/02/24   Page 29 of 52




       The form of preemption at issue here is implied rather than express.

Cybergenics, after all, found the authority to grant committee standing to be one that

was implicit in the Bankruptcy Code, not one that is set forth expressly in the

statutory text. But the purpose of finding such an implied right was that doing so

was critical to the fundamental chapter 11 purpose of ensuring that a debtor in

possession act as a proper fiduciary to its creditors. To the extent the operation of

state law would mean that a valuable estate cause of action that could be the source

of creditor recoveries would not be pursued, such a result would certainly frustrate

the congressional purpose recognized in Cybergenics. Such a state law would be

preempted on that basis.88

       This is not to take issue in any way with the principle that “a court should not

find pre-emption too readily in the absence of clear evidence of a conflict,”89 or to

suggest that the Bankruptcy Code should be read to sweep aside any state law that

might operate to reduce creditor recoveries or make it more difficult to reorganize a




that “a person ceases to be a member of a limited liability company” when that person files
for bankruptcy. In In re Envision Healthcare Corp., 655 B.R. 701 (Bankr. S.D. Tex. 2023),
the debtor was a member of a Delaware limited liability company. The court found that other
members could not rely on § 18-304 to deprive the debtor of its membership interest on
account of the debtor’s bankruptcy because the provision was preempted by § 541(c)(1)(B),
which invalidates ipso facto provisions in non-bankruptcy law such as that contained in § 18-
304. See 11 U.S.C. § 541(c)(1)(B) (“an interest of the debtor in property becomes property of
the estate … notwithstanding any provision in … applicable nonbankruptcy law … that is
conditioned on … the commencement of a case under this title”).
88 See generally Geier v. American Honda Motor Co., Inc., 529 U.S. 861 (2000) (holding that

to permit state law tort action against automotive maker that did not equip vehicles with
airbags, but had complied with applicable federal regulations, would frustrate federal
interest in the gradual development of passive restraint devices).
89 Id. at 885.



                                             29
           Case 22-10797-CTG        Doc 1231      Filed 02/02/24   Page 30 of 52




business in financial distress. “No legislation pursues its purposes at all costs,” and

the Bankruptcy Code is no exception.90 Broadly speaking, the Bankruptcy Code seeks

to strike a balance between achieving bankruptcy objectives and proper respect for

non-bankruptcy law. Generally speaking, the Code disturbs non-bankruptcy rights

and entitlements only when doing so is truly critical to accomplishing a key

bankruptcy purpose.91

       But no objective of chapter 11 is more critical than ensuring that the debtor in

possession operate as a faithful trustee. Any state law that would operate to preclude

a bankruptcy court from granting a committee standing to pursue an estate cause of

action, no differently from a state law that would preclude a bankruptcy court from

appointing a chapter 11 trustee or converting a case to chapter 7, would frustrate

that congressional purpose and thus be preempted by the Bankruptcy Code.92

III.   None of the reasons offered in support of the contrary result is
       persuasive.

       There are four arguments that have been advanced for the contrary position.

None, however, is sufficient to overcome the obligation to adhere to the binding

Cybergenics precedent.




90 American Express Co. v. Italian Colors Rest., 570 U.S. 228, 234 (2013).

91 See generally Butner v. United States, 440 U.S. 48 (1979); Thomas H. Jackson, The Logic

and Limits of Bankruptcy Law (1986).
92 See MSR Exploration v. Meridian Oil, Inc., 74 F.3d 910, 914 (9th Cir. 1996) (“It is very

unlikely that Congress intended to permit the superimposition of state remedies on the many
activities that might be undertaken in the management of the bankruptcy process.”).

                                             30
              Case 22-10797-CTG    Doc 1231        Filed 02/02/24   Page 31 of 52




         A.     Cybergenics committee standing is not limited to § 544 avoidance
                actions.

         Defendants argue that even if Cybergenics is controlling precedent and means

that that a bankruptcy court may in certain circumstances authorize committee

standing for a Delaware limited liability company notwithstanding Delaware state

law, this case is sufficiently different from Cybergenics that its reasoning does not

apply.

         Defendants argue that the Third Circuit’s reliance on §§ 1109(b), 1103(c)(5),

and 503(b)(3)(B) suggest that its reasoning applies to a debtor’s failure to bring an

avoidance action under § 544 (which were the factual circumstances of that case) but

not a claim for breach of fiduciary duty.93

         Defendants further emphasize that the Cybergenics court stated that the

relevant provisions of the Bankruptcy Code “evince Congress’s approval of derivative

avoidance actions by creditors’ committees, and that bankruptcy courts’ equitable

powers enable them to authorize such suits as a remedy in cases where a debtor-in-

possession unreasonably refuses to pursue an avoidance claim.”94

         It is true that on its facts Cybergenics arose from a committee motion seeking

standing to bring an avoidance action and not a suit for breach of fiduciary duty. And

it is also true that § 503(b)(3)(B), one of the provisions on which the Third Circuit

relied, is focused on a creditor that “recovers, after the court’s approval, for the benefit




93 D.I. 1099 at 12-13.

94 Cybergenics, 330 F.3d at 553 (emphasis added).   See also Oct. 19, 2023 Hr’g Tr. at 61-62
(counsel for defendant emphasizing this passage of the Cybergenics opinion).

                                              31
             Case 22-10797-CTG       Doc 1231      Filed 02/02/24   Page 32 of 52




of the estate any property transferred … by the debtor.” This provision, to be sure,

relates to avoidance actions but not claims for breach of fiduciary duty.

          Nevertheless, reading Cybergenics to be limited to avoidance actions, and not

to extend to other potentially valuable estate causes of action that a debtor in

possession declines to pursue, is to take an unduly blinkered approach to the Third

Circuit’s decision.     The opinion explains, after all, that the Bankruptcy Code

effectively codified the established pre-Code practice of permitting bankruptcy courts

to authorize derivative standing when the trustee or debtor-in-possession refused to

act in the best interests of the estate. There is no suggestion that the pre-Code

practice was limited to avoidance actions. Indeed, the cases on which the Third

Circuit relied in describing that pre-Code practice included an Eighth Circuit case

from 1900 involving a claims allowance appeal.95

          The Third Circuit also relied heavily on the Second Circuit’s decision in

Commodore for the proposition that the text of § 544(b), which authorizes the

“trustee” to bring certain avoidance actions, did not (in light of Hartford

Underwriters) mean that only the trustee could bring such a lawsuit.96 Commodore,

however, involved (like this case does) a lawsuit for breach of fiduciary duty. Indeed,

the Commodore decision makes no reference to § 544 or an avoidance action. The

Third Circuit’s reliance on that precedent would therefore have been inexplicable had

the Third Circuit believed that its decision were limited to avoidance actions and had


95 See id. at 569 (quoting Chatfield v. O’Dwyer, 101 F. 797 (8th Cir. 1900)).

96 Cybergenics, 330 F.3d at 566 (quoting In re Commodore Int’l Ltd, 262 F.3d 96 (2d Cir.

2001)).

                                              32
            Case 22-10797-CTG       Doc 1231      Filed 02/02/24   Page 33 of 52




no application to suits for breach of fiduciary duty. The Court accordingly rejects the

claim that Cybergenics does not extend beyond avoidance actions.

       B.     Applying Cybergenics does not give the estate greater rights
              than it would have outside of bankruptcy.

       A second argument that is advanced for the view that the Delaware Limited

Liability Company Act bars committee standing in bankruptcy relies on the

fundamental bankruptcy principle that the rights and causes of action that come into

the bankruptcy estate upon the bankruptcy filing under § 541(a) of the Bankruptcy

Code are exactly those that were held by the debtor immediately before the

bankruptcy. The bankruptcy filing thus operates neither to expand nor contract

estate property.97

       The argument is that because the defendants could not have been sued in a

derivative lawsuit for breach of fiduciary duty outside of bankruptcy, they are thus

entitled to be equally free from such litigation after the bankruptcy filing. While

perhaps superficially appealing, this contention is incorrect.            The flaw in the

reasoning is that the focus of this principle of neutrality is on the rights of the

bankruptcy estate, not on which party is exercising those rights. To be sure, the

estate’s rights neither expand nor contract on account of the bankruptcy filing. But

authorizing committee standing does not expand the estate’s rights. After all, the

claim for breach of fiduciary duty is one that the debtors could have filed either before

or after the bankruptcy. An order granting committee standing simply empowers the



97 See generally Mission Product Holdings, Inc. v. Tempnology, LLC, 139 S. Ct. 1652, 1663

(2019) (citing Board of Trade of Chicago v. Johnson, 241 U.S. 1, 15 (1924)).

                                             33
            Case 22-10797-CTG     Doc 1231     Filed 02/02/24   Page 34 of 52




committee to act as the voice of the estate with respect to the very same lawsuit the

debtor-in-possession could have brought itself. The Cybergenics principle thus does

not alter the substance of the estate’s entitlements in any way. It affects only the

procedures for asserting a claim that the estate in fact holds. This is the point that

the Fifth Circuit made in Louisiana World Exposition v. Federal Ins. Co., discussed

above, when it permitted a committee to bring suit against the directors of Louisiana

non-profit corporation who, outside of bankruptcy, could not have been sued directly

by creditors but only by a receiver.98 Authorizing committee standing is merely “a

procedural device, authorized by the Code, which does not affect state created

property interests.”99

       C.        The Cybergenics action is its own claim; it does not incorporate
                 state law of derivative standing.

       Perhaps the strongest argument that might be made in favor of the application

of the Delaware Limited Liability Company Act to the Cybergenics action would be

that even though the authority to grant committee standing is federal in nature,

being derived from the Bankruptcy Code, the Bankruptcy Code should be understood

to incorporate applicable state law. In view of the internal affairs doctrine and the

traditional principle that matters of corporate law are governed by the law of the

state of incorporation, the argument is that to the extent the Bankruptcy Code would

authorize a committee to have standing to pursue an estate cause of action with

respect to a debtor incorporated under Delaware law, Congress would have intended


98 858 F.2d at 251.

99 Id. at 252.



                                          34
             Case 22-10797-CTG      Doc 1231     Filed 02/02/24   Page 35 of 52




that the action be subject to the requirements of Delaware law, including the

Delaware Limited Liability Company Act.

          Indeed, the Supreme Court embraced a similar argument in Burks v. Lasker.100

There, the Court addressed whether independent directors could terminate a

derivative action brought by members of a corporation’s board and its investment

advisor under two federal statutes – the Investment Company Act and the

Investment Advisors Act. Fundamental Investors, Inc. had purchased $20 million in

commercial paper from Penn Central Transportation Co.101 The complaint alleged

that the defendants had breached their fiduciary duties, imposed by these federal

statutes, by failing to conduct an adequate investigation into the financial condition

of Penn Central before purchasing the commercial paper.102 (Penn Central ended up

reorganizing in bankruptcy, which presumably required Fundamental Investors to

incur losses on its investment in Penn Central’s commercial paper.) While neither of

the federal statutes creates an express private right of action, the Court proceeded on

the assumption (which was not disputed) that these statutes created implied private

rights of action that could be enforced by shareholders through derivative litigation.103

          Because the case was based “on the premise of the existence of a federal cause

of action,” the Court explained that the principles of Erie R. Co. v. Tompkins were not




100 441 U.S. 471 (1979).

101 Id. at 473-474.

102 Id.

103 Id. at 475-476.



                                            35
             Case 22-10797-CTG       Doc 1231      Filed 02/02/24      Page 36 of 52




controlling, such that state law would not “operate of its own force.”104 Even so, the

fact that the claim was a federal one “does not, however, make state law irrelevant.”105

While “in certain areas” the Court has held “that federal statutes authorize the

federal courts to fashion a complete body of federal law,” the Burks Court explained

that “[c]orporation law … is not such an area.”106 Rather, the “first place one must

look to determine the power of corporate directors is the relevant State’s corporation

law.”107 Because corporations “are creatures of state law,” when Congress acts in a

way that imposes duties on corporate officers, it acts “against the background of

existing state law.”108

          Accordingly, neither the Investment Company Act nor the Investment

Advisors Act would “displace state laws governing the powers of directors unless the

state permit actions prohibited by the Acts, or unless their application would be

inconsistent with the federal policy underlying the cause of action.”109 On that point,

the Court emphasized that “federal courts must be ever vigilant to insure that

application of state law poses no significant threat to any identifiable federal policy




104 Id. at 476 (citing Erie R. Co. v. Tompkins, 304 U.S. 64 (1938)).

105 Id. at 477.

106 Burks, 441 U.S. at 477.

107 Id. at 478.

108 Id.

109 Id. at 479 (internal quotation and citations omitted).



                                              36
           Case 22-10797-CTG         Doc 1231        Filed 02/02/24   Page 37 of 52




or interest.”110 Otherwise put, the task of the federal court is to make certain that

“nothing the state can do will be allowed to destroy the federal right.”111

       The Court observed that if state law permitted the independent directors to

terminate the suit, the “next inquiry should have been whether such a state rule was

consistent with the policy of the [federal securities statutes].”112 The Supreme Court

found that allowing independent directors to terminate a derivative suit would not

necessarily conflict with the aims of the federal securities laws and remanded the

case to the lower courts for consideration of the state law question.113

       How does Burks apply here? First, it is not entirely obvious that Burks applies

at all to this circumstance.        There is certainly not a word in the exhaustive

Cybergenics opinion that suggests that the Third Circuit believed that when the

Bankruptcy Code contemplates authorizing a committee to pursue an estate cause of

action, that the mechanic for doing so would be to “borrow” a state-law derivative

action. No one would contend that a bankruptcy court would need to “borrow” the

state law for the appointment of a receiver or trustee in connection with the


110 Id. (internal quotation and citation omitted).

111 Id. at 480 (internal quotation and citation omitted).

112 Burks, 441 U.S. at 480.

113 See also Kamen v. Kemper Financial Services, Inc., 500 U.S. 90 (1991) (applying Burks,

noting that “a court should endeavor to fill the interstices of federal remedial schemes … only
when the scheme in question evidences a distinct need for nationwide legal standards,” and
concluding that in a derivative suit under the Investment Company Act, the demand futility
requirement provided by state law should apply); Boyle v. United Technologies Corp., 487
U.S. 500 (1988) (observing that there are occasions where certain “uniquely federal interests”
are “so committed by the Constitution and laws of the United States to federal control that
state law is pre-empted and replaced, where necessary, by federal law of a content prescribed
… by the courts – so-called ‘federal common law.’”) (internal citations and quotations
omitted).

                                               37
           Case 22-10797-CTG        Doc 1231     Filed 02/02/24   Page 38 of 52




appointment of a chapter 11 trustee or converting a case to chapter 7. These are

express federal remedies that need not “incorporate” any principle of state law. The

better reading of Cybergenics, in this Court’s view, is that the en banc Third Circuit

viewed an order authorizing committee standing the same way – a direct (though

implicit) federal remedy that did not involve the “borrowing” of any law. The parts

of the Cybergenic opinion that describe the authorization of committee standing as

the carrying forward of an established equitable remedy that was regularly employed

by the federal courts under pre-Code practice are consistent with this approach.114

       Second, even if the Burks analysis does apply, then the rationale of Cybergenics

would require the conclusion that application of the Delaware Limited Liability

Company Act would interfere with the federal interest in ensuring that the trustee

in bankruptcy faithfully discharge its own fiduciary duties to creditors and the estate.

The fundamental point of Cybergenics is that there are circumstances in which a

debtor’s management may not be well suited to make a decision that is in the best

interests of the bankruptcy estate. One such circumstance is when managers must

decide whether to authorize the company to file suit against themselves. Because of

the federal bankruptcy policy of ensuring that the party in charge of a bankruptcy

estate serves as a faithful trustee looking out for the estate’s ultimate beneficiaries –

typically creditors – Cybergenics operates to put a disinterested party in charge of

that decision. At least in the context of an insolvent debtor, there is no escaping the

conclusion that the effect of the Delaware Limited Liability Company Act would be


114 See Cybergenics, 330 F.3d at 567-572.



                                            38
           Case 22-10797-CTG     Doc 1231      Filed 02/02/24   Page 39 of 52




to ensure that the fox remain in charge of the henhouse. Because that result is the

opposite of what Cybergenics and the Bankruptcy Code seek to accomplish, this is

precisely the situation (if the Burks analysis were applicable) in which the Delaware

Limited Liability Company Act would be inconsistent with the policy objectives of the

federal Bankruptcy Code.

      Accordingly, to the extent one views the question as a choice between

“borrowing” a state law rule or “devising” a federal common law of derivative actions,

the type of derivative action contemplated by Cybergenics would not “borrow” the

provisions of the Delaware Limited Liability Company Act that would operate to

defeat the very cause of action it contemplated.

      D.     Despite the imperative to adhere to this Court’s precedent, the
             three published opinions of judges of this Court cannot
             overcome the need to apply the Third Circuit’s Cybergenics
             opinion.

      Notwithstanding the points set forth above, three judges of this Court have

issued published opinions reaching the opposite conclusion. That is certainly reason

to pause. In the federal courts’ hierarchal system of precedent, only the binding

decisions of a court that can review a rendering court’s decision are controlling

precedent. Accordingly, no trial court is bound by another trial court’s decision. Even

so, on a multi-judge trial court, there are sound prudential reasons to strive for

consensus.   Obtaining such consensus provides clarity and predictability, both

important rule-of-law values. And it can be argued that such predictability is of

particular importance in areas of commercial law like bankruptcy, where parties can




                                          39
            Case 22-10797-CTG      Doc 1231      Filed 02/02/24   Page 40 of 52




be expected to rely on the consistent application of settled law in their commercial

dealings.

       In addition to the benefits of uniformity, there are further reasons to pause

before a judge breaks with the uniform rulings of other judges on the same court. One

of those reasons is modesty. A system of respect for precedent takes advantage of the

“wisdom of crowds” to maximize the likelihood of obtaining the correct answer.

Overconfidence in one’s own opinion is perhaps a common human quirk – one from

which federal judges are not particularly known to be immune. When one’s own

judgment about how to resolve an issue differs from that of the “crowd,” part of the

judicial task ought to be to think long and hard about whether one’s own judgment

about the matter is wrong.

       For all of these reasons, where the law on a question is uniform in this Court,

the undersigned judge typically adheres to it without so much as considering

whether, from first principles, an argument could be made to the contrary. What is

different here, however, is that the obligation to adhere to binding circuit precedent

must come ahead of the desire to achieve consensus. And as described below, the

prior decisions did not address how the Cybergenics opinion affected the proper

resolution of the question at issue.

       The first of the three decisions is In re HH Liquidation, in which a creditors’

committee sought to pursue breach of fiduciary duty claims against managers of

several limited liability companies.115 The relevant discussion was three paragraphs


115 In re HH Liquidation, LLC, 590 B.R. 211 (Bankr. D. Del. 2018).



                                            40
            Case 22-10797-CTG       Doc 1231      Filed 02/02/24   Page 41 of 52




of a very lengthy opinion that addressed many other issues. The opinion correctly

explained that the Delaware Limited Liability Company Act and the Delaware

Supreme Court decision in Bax deny creditors the ability to pursue state-law

derivative actions.116      The opinion, however, neither mentions Cybergenics nor

engages the question of how the unavailability of a state-law derivative action ought

to affect the court’s authority to grant the federal remedy described in Cybergenics.

       The second case is In re PennySaver. 117 That, too, was a lengthy opinion that

addressed many issues. Importantly, the plaintiff in that action was a chapter 7

trustee, not a creditors’ committee seeking derivative standing under Cybergenics.

The trustee’s lawsuit alleged that the defendants caused the debtors to make

fraudulent transfers, thus injuring the debtors. In a case in which a shareholder

complains about a fiduciary’s decision that caused harm to the company, the relevant

fiduciary duty is the one running to the company. That is why, when a claim for

breach of fiduciary duty is asserted by creditors or shareholders, it can only be

enforced derivatively.118

       PennySaver, however, was a chapter 7 case. And while it is true that there are

cases suggesting that a chapter 7 trustee is acting in a derivative capacity when it

asserts estate causes of action, the better view is that a chapter 7 trustee can directly

assert claims for breach of duties that run to the entity – no differently than if a




116 Id. at 283-285.

117 In re PennySaver USA Publishing, LLC, 587 B.R. 445 (Bankr. D. Del. 2018).

118 See generally Agostino v. Hicks, 845 A.2d 1110, 1122 (Del. Ch. 2004).



                                             41
           Case 22-10797-CTG         Doc 1231      Filed 02/02/24   Page 42 of 52




corporation’s shareholders had replaced the board of directors and the new board

installed a new management team – without the need to seek derivative standing.119

Perhaps as a result of the confusing nature of the trustee’s complaint, however, the

court treated this as a derivative claim, and found that the Delaware Limited

Liability Company Act and Bax barred the trustee from proceeding on a derivative

basis.120 This part of the PennySaver opinion does not explain why a chapter 7

trustee, who as a matter of federal law has the legal authority to act on behalf of the

debtor itself, would require derivative standing. And to the extent the authority to

grant derivative standing were relevant, the opinion does not mention Cybergenics or

address its reasoning.

       Finally, in In re Citadel Watford, a committee was granted standing to pursue

certain estate claims.121      Thereafter, a plan was confirmed that gave a post-

confirmation trust the authority to assert all estate causes of action, including those

as to which the committee had previously been granted standing. The trust was then

substituted as the plaintiff in a breach of fiduciary duty lawsuit that had been filed




119 Compare In re Golden Guernsey Dairy, LLC, 548 B.R. 410, 413 (Bankr. D.          Del. 2015)
(rejecting defense to fiduciary duty claim asserted by a chapter 7 trustee, based on Bax and
the Delaware Limited Liability Company Act, because the “Trustee in this Chapter 7
proceeding is the sole representative of the estate with the authority to sue and be sued …
[and] is charged with pursuing the estate’s interests” and thus is not suing derivatively)
(internal quotations and citations omitted); and Shearson Lehman Hutton, Inc. v. Wagoner,
944 F.2d 114, 118 (2d Cir. 1991) (the trustee may sue on behalf of the corporation itself) with
In re VarTec Telecom, Inc., No. 06-03506, 2007 WL 2872283, at *4 (Bankr. N.D. Tex. Sept.
24, 2007) (suggesting that suit by chapter 7 trustee was a derivative action).
120 PennySaver, 587 B.R. at 467.

121 Citadel Watford, 603 B.R. 897.



                                              42
           Case 22-10797-CTG        Doc 1231      Filed 02/02/24   Page 43 of 52




by the creditors’ committee before confirmation, following the court’s entry of an order

granting committee standing.

       Because the post-confirmation trust was given the authority to pursue all

estate causes of action, Citadel Watford, just like the cases involving chapter 7

trustees on the better view of this question, should not have required the

consideration of any question of derivative standing. The post-confirmation trust was

the successor to the debtor and had all of the rights the debtor did to bring estate

causes of action. Such an action should not be viewed as derivative. Nevertheless,

the Citadel Watford court followed the analysis in PennySaver and dismissed the

claims for breach of fiduciary duty on the ground that they were barred by the

reasoning of Bax. The case makes no mention of Cybergenics or engages its reasoning

in any way.122

       As described in detail in Part I.C above, this Court’s analysis of the Third

Circuit’s decision in Cybergenics leads it to conclude that the decision treated the

authority of a bankruptcy court to grant derivative standing to a creditors’ committee

as federal remedy that did not implicate state law.            Despite the Court’s strong

reluctance to break with a uniform position adopted by other judges of this Court, it

concludes that in the circumstances presented here, it is required to do so. Third

Circuit precedent is formally binding on this Court in a way that the decisions of other


122 In addition to these three reported decisions, two unreported decisions reach the same

conclusion. See In re Dura Automotive Systems, Bankr. D. Del. No. 19-12378, June 9, 2020
Hr’g Tr. at 45-48; In re Ector County Energy Center LLC, Bankr. D. Del. No. 22-10320, Aug.
17, 2022 Hr’g Tr. at 59-61. It bears note, however, that Judge Dorsey’s ruling in Ector County
Energy Center emphasized that the standing motion was brought by an individual creditor
rather than an official committee of unsecured creditors.

                                             43
           Case 22-10797-CTG        Doc 1231       Filed 02/02/24   Page 44 of 52




judges of this Court are not. Additionally, the opinions that rely on Bax and the

Delaware Limited Liability Company Act to preclude derivative standing do not

explain how that conclusion can be reconciled with Cybergenics. Accordingly, this

Court concludes that it must respectfully disagree with the three published opinions

in favor of adhering to the reasoning set out by the en banc Third Circuit decision.

IV.    The traditional standards for granting committee standing are
       satisfied for the objecting defendants.

       Having concluded that the debtor’s status as a limited liability company does

not preclude the Committee from seeking standing to assert the claims, the Court

now turns to the applicable standard that governs a standing motion. Judges of this

Court and the Third Circuit have held that to be granted derivative standing:

       the moving party must demonstrate that (i) the debtor-in-possession has
       unjustifiably refused to pursue the claim or refused to consent to the
       moving party’s pursuit of the claim on behalf of the debtor-in-possession;
       [and] (ii) the moving party has alleged colorable claims123

       This Court will follow Judge Shannon’s decision in Optim Energy in taking

those questions in the opposite order: (a) are the claims colorable; and (b) is the

debtor’s refusal to assert the claim unjustified. The Court will also address, as several

other decisions have suggested, a third question – (c) whether pursuit of the claims

would likely be beneficial to the bankruptcy estate.124



123 In re Optim Energy, LLC, No. 14-10262-BLS, 2014 WL 1924908, at *6 (Bankr. D. Del. May

13, 2014) (citing Cybergenics, 330 F.3d 548). See also In re Pursuit Capital Mgmt., 595 B.R.
631, 664 (Bankr. D. Del. 2018).
124 While the Cybergenics decision also treated as a prong of the analysis the question whether

the moving party has received leave to sue from the bankruptcy court, Cybergenics, 330 F.3d
at 561, 566, the inclusion of that factor obviously does not make sense from the perspective
of the bankruptcy court being asked to grant that leave.

                                              44
              Case 22-10797-CTG      Doc 1231      Filed 02/02/24   Page 45 of 52




         A.     The claims are colorable.

         The typical articulation of the first part of this test is that a “claim is colorable

if it would survive a motion to dismiss.”125 Otherwise put, to be colorable, a “complaint

must contain sufficient factual matter, accepted as true, to ‘state a claim to relief that

is plausible on its face.’”126 There, “recitals of the elements of a cause of action,

supported by mere conclusory statements, do not suffice.”127

         The defendants argue that the claims are not colorable since Packable’s

operating agreement exculpated each of them as managers from being personally

liable to the company or its members for monetary damages for a breach of fiduciary

duties.128 Recall, as discussed in Part I.B above, that the Delaware Limited Liability

Company Act, in addition to limiting derivative standing to members and assignees,

also permits the members of a limited liability company, in its formation documents,

to disclaim fiduciary duties running to the entity. Unlike the provisions addressed to

who may maintain a derivative lawsuit, which are procedural in nature, the

disclaimer of fiduciary duties affect the substance of the rights that the debtor would

have had as of the time of the bankruptcy filing. Accordingly, to the extent state law

permits the disclaimer of fiduciary duties, that is fully respected and controlling in




125 In re Pursuit Capital Mgmt., 595 B.R. at 665 (citing In re Optim Energy, 2014 WL 1924908,

at 6).
126 Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S.

544, 570 (2007)).
127 Iqbal, 556 U.S. at 678.

128 D.I. 1099 at 5, 7.



                                              45
           Case 22-10797-CTG        Doc 1231      Filed 02/02/24     Page 46 of 52




bankruptcy, as the bankruptcy estate obtains under § 541(a) only those rights that

the debtor held as of the time of the bankruptcy filing.

       Here, Packable’s operating agreement waived the managers’ personal liability

for breach of fiduciary duties to the company and between members. Exculpating

personal liability precludes the imposition of monetary damages in a claim against a

manager for breach of fiduciary duty. Claims that the managers breached their

fiduciary duties therefore are not colorable.129 The Committee is accordingly barred

from seeking monetary damages against the objecting defendants for fiduciary duty

breaches in their managerial capacity.

       In addition to asserting claims against the objecting defendants in their

capacity as managers, however, the Committee also seeks to assert claims against

them in their capacities as officers.        Packable’s operating agreement does not

exculpate its officers for personal liability for breach of fiduciary duty.          To the

contrary, the operating agreement states that:

       The officers of the Company and its Company Subsidiaries, in the
       performance of their duties as such, shall owe to the Company and its
       Company Subsidiaries fiduciary duties (including duties of loyalty and
       due care) of the type owed by an officer of a corporation to such
       corporation and its stockholders under the laws of the State of Delaware.

       The Committee’s complaint asserts breach of fiduciary duty claims against

these same defendants in their capacities as officers of the debtor. At least at the



129 “A claim that has clearly been waived is no longer colorable.” In re Calore Express Co.,
288 F.3d 22, 35 (1st Cir. 2002) (citing Grella v. Salem Five Cent Sav. Bank, 42 F.3d 26, 35
(1st Cir. 1994); see also In re Optim Energy, 2014 WL 1924908, at *6 (finding that where a
LLC operating agreement waived fiduciary duties, claims for breaches of fiduciary duties and
aiding and abetting breach of fiduciary duty claims must fail).

                                             46
            Case 22-10797-CTG        Doc 1231      Filed 02/02/24   Page 47 of 52




motion to dismiss stage, it would not appear that a claim against an officer in one’s

capacity as such would be precluded by the fact that the officer also happens to be a

manager who has the benefit of an exculpation against liability incurred in that

capacity.

       In In re Solutions Liquidation LLC, the trustee sued the defendants, some of

whom served as managers, and others of whom served as officers, for breach of

fiduciary duty claims in those capacities.130 The defendants, however, argued that

the trustee failed to state a claim for which relief could be granted because the

exculpatory clause in the operating agreement bars such claims against managers.131

The court agreed with that proposition as it applied to those defendants who were

managers but not those who were officers.132

       Here, the complaint alleges that the debtors’ founders served as both officers

and managers.133       While the operating agreement does eliminate liability for

managers, it does not appear to exculpate anyone for actions taken in their capacity




130 In re Solutions Liquidation LLC, 608 B.R. 384 (Bankr. D. Del. 2019).

131 Id. at 393-394.

132 Id. See also In re Mindbody, Inc., Shareholder Litig., No. 2019-0442-KSJM, 2023 WL

2518149, at *31 n. 493 (Del. Ch. Mar. 15, 2023) (“In his capacity as a director, Stollmeyer was
protected by an exculpatory charter provision, which means that Plaintiffs would have to
prove that Stollmeyer acted disloyally or in bad faith to prevail on a claim against him as a
director. Mindbody’s exculpatory charter provision did not protect Stollmeyer from liability
when he was acting as an officer. Generally, when a defendant acted in both exculpated and
unexculpated capacities, the court must distinguish in which capacity the defendants acted
to resolve the claim for liability.”); In re McDonald’s Corp. Shareholder Derivative Litig., 289
A.3d 343 (Del. Ch. 2023).
133 Adversary D.I. 1 ¶¶ 29-33.



                                              47
            Case 22-10797-CTG     Doc 1231       Filed 02/02/24   Page 48 of 52




as officers.    The complaint accordingly appears to be colorable as against the

defendants in their capacity as officers.

       The Court adds, however, that this issue of the scope of the exculpation and

the different capacities in which the defendants served was raised by the Committee

only in a post-argument brief to which the defendants have not had the opportunity

to respond. Under the circumstances, the Court is comfortable concluding that the

claim is sufficiently “colorable” to satisfy the requirement necessary for the

Committee to be granted standing to assert it. The usual formulation of the standard

equates “colorable” with sufficient to survive a motion to dismiss. The Court believes,

however, that in the unusual circumstances of this case in which the question of

committee standing is now ripe for decision without the question of “capacity” having

been fully joined by the parties’ briefs, that its finding that the claim is “colorable”

should not preclude the defendants from responding, at the motion to dismiss stage,

to this contention. Accordingly, this finding that the complaint is “colorable” is

expressly without prejudice to being reconsidered to the extent the defendants seek

to respond to this argument by moving to dismiss the complaint.

       B.      The debtors unjustifiably refused to consent; demanding that
               the debtors pursue the claims would be futile.

       The Committee satisfies the first part of this standard. It is not disputed that

the Committee requested that the debtors consent to committee standing to prosecute

these claims. The debtors declined to consent to committee standing. 134 An action is




134 D.I. 1027 at 6.



                                            48
            Case 22-10797-CTG        Doc 1231       Filed 02/02/24   Page 49 of 52




considered unjustifiably refused when the requesting party demonstrates the claim

is colorable and the trustee or debtor-in-possession fails to establish a legitimate

reason for not pursuing the action.135

       Judges of this Court and elsewhere have recognized that asking a trustee or

debtor-in-possession “to take action may be excused if such a demand would be

futile.”136 Likewise, courts have discretion to excuse making a demand when it would

be futile.137 Here, demand would be futile because, to date, many of the named

defendants still act as managers on the board for the debtors, and the debtors have

already declined to consent to the Committee’s standing.

       C.     Pursuit of the claims would likely benefit the debtors’ estates.

       While not an explicit requirement under Cybergenics for obtaining derivative

standing, many other courts consider whether the committee’s claim would benefit




135 See 7 Collier on Bankruptcy ¶ 1109.05 (16th ed. 2023) (citing In re Gibson Group, 66 F.3d

at 1438-39); In re Xonics Photochemical, Inc., 841 F.2d 198, 202-03 (7th Cir. 1988); Louisiana
World Exposition, 858 F.2d at 252-53.
136 In re Dura Automotive Systems, Inc., 379 B.R. 257, 263 (Bankr. D. Del. 2007) (the Court

held that regardless of the no-action clause, the plaintiffs had a right to be heard on the issue
at confirmation) (citing Cypress Assoc., LLC v. Sunnyside Cogeneration Assoc. Project, 2006
WL 668441, *6–7 (Del. Ch. Mar. 8, 2006)); Ettlinger v. The Persian Rug and Carpet Co., 142
N.Y. 189, 193 (N.Y. 1894).
137 VGS, Inc. v. Castiel, No. 17995, 2003 WL 723285 (Del. Ch. Feb. 28, 2003) (demand
considered futile when a reasonable doubt exists as to whether the LLC managers were
disinterested or independent, or the challenged transaction was the product of a valid
exercise of business judgment); see also In re First Capital Holdings Corp., 146 B.R. 7, 9-11
(Bankr. C.D. Cal. 1992) (holding that bankruptcy courts have discretion to excuse the
requirement of a demand upon a debtor-in-possession as futile when the creditors’
committee’s complaint is brought against the debtor’s present officers, directors, insiders, and
principal shareholders. In reaching its decision, the court relied on the law of futility outside
of bankruptcy to determine whether it applied in bankruptcy).

                                               49
              Case 22-10797-CTG       Doc 1231      Filed 02/02/24    Page 50 of 52




the bankruptcy estate based on a cost-benefit analysis.138 Other decisions of this

Court have similarly held that even where claims are colorable, whether the

committee should be able to prosecute the claims “turns on the outcome of a

cost/benefit analysis.”139

          In conducting this analysis, courts typically consider the probability of success

and the potential costs of litigation, including attorneys’ fees.140 The likelihood of

success should justify the anticipated delay and expenses to the estate.141

          The Committee has represented that this claim is being asserted on a

contingency basis. Defendants do not dispute that assertion. Accordingly, it does not

appear that the pursuit of the claims would impose any material cost on the estate.

While the Court is not in a position to offer a detailed assessment of the Committee’s

likelihood of success or its prospects on collecting if its claim is successful, the absence

of any material litigation cost is sufficient to persuade the Court that, as a cost/benefit

matter, it is a claim worth pursuing.




138 See, e.g., Gibson Group, 66 F.3d 1436;STN Enterprises, 779 F.2d at 905; see also 7 Collier
on Bankruptcy ¶ 1109.05 (16th ed. 2023) (stating that to obtain derivative standing a party
in interest must show: (1) the trustee refused to pursue litigation after receiving a demand
to take action, (2) the refusal must be unjustified, and (3) the claim, if successful, must be
one that will benefit the estate).
139 In re Nat’l Forge Co., 326 B.R. 532, 548 (W.D. Pa. 2005) (“In determining whether
a[d]ebtor’s refusal is unjustified, courts generally perform a cost-benefit analysis of the claims
to determine whether the creditors’ claims have colorable merit and whether, in light of the
probable costs of litigation, the claims would likely benefit the estate if pursued.”).
140 In re MIG, Inc., No. 09-12118-KG, 2009 WL 8662897, at *2 (Bankr. D. Del. Dec. 18, 2009).

141 Id.



                                               50
            Case 22-10797-CTG        Doc 1231      Filed 02/02/24   Page 51 of 52




V.     The Committee may assert the claim against those defendants that
       have not opposed the Committee’s motion.

       The objecting defendants make up only ten of 34 total named defendants in the

Committee’s complaint.142 While the Court has not addressed the three-part test to

determine whether it is appropriate to grant committee standing with respect to the

other 24 defendants, the Court is comfortable entering an order granting the

Committee standing to proceed with its complaint against those defendants who have

not objected.

       This Court has explained elsewhere that except for matters of subject-matter

jurisdiction that a court must consider even in the absence of it being raised by a

party, the Court views its role primarily as resolving those disputes presented to it

by the parties.143 It is thus incumbent on a party that has been properly served and

objects to the relief sought to raise that objection. Accordingly, the Court proceeds on

the understanding that those defendants that have not objected to the Committee’s

motion for standing have consented to it.144


142 D.I. 1117 at 17.

143 In re Arsenal Intermediate Holdings, LLC, Bankr. D. Del. No. 23-10097-CTG, Mem. Op.

at 11-12 (Mar. 27, 2023).
144 That conclusion would be improper if a motion for committee standing raised a question

of subject-matter jurisdiction. Every federal court has an independent duty to assure itself
of its own subject-matter jurisdiction before resolving a dispute on the merits. See Arbaugh
v. Y&H Corp., 546 U.S. 500, 514 (2006). There are certainly contexts in which a party’s
“standing” is an element of a constitutional “case or controversy,” and thus necessary for a
federal court to exercise subject-matter jurisdiction. See Lujan v. Defenders of Wildlife, 504
U.S. 555, 561 (1992). But not every use of the word “standing” implicates subject-matter
jurisdiction. See Steel Co. v. Citizens for a Better Environment, 523 U.S. 83, 91 (1998).
Because the question of whether to grant a committee standing to pursue an estate cause of
action is not one that bears on the existence of a constitutional case or controversy, the Court
respectfully disagrees with the suggestion in HH Liquidation, 590 B.R. at 284, that the issue
is one that “implicates subject matter jurisdiction.”

                                              51
          Case 22-10797-CTG      Doc 1231     Filed 02/02/24   Page 52 of 52




                                    Conclusion

      For the forgoing reasons, the Court will grant in part and deny in part the

Committee’s motion for derivative standing to pursue the breach of fiduciary duty

claims. The parties are directed to settle an appropriate order.



Dated: February 2, 2024
                                        CRAIG T. GOLDBLATT
                                        UNITED STATES BANKRUPTCY JUDGE




                                         52
